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                     UnitedF States
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                                    Court
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                                          ofC Appeals
                                            ISTRICT OF    OLUMBIA   IRCUIT
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No. 23-5275                                                     September Term, 2023
                                                                             1:13-cv-00966-RJL
                                                         Filed On: February 20, 2024 [2041218]
National Association of Mutual Insurance
Companies,
               Appellant
       v.
United States Department of Housing &
Urban Development and Maria L. Fudge, in
her official capacity as Secretary of
Housing and Urban Development,
               Appellees

                                              ORDER
        It is ORDERED, on the court's own motion, that the following briefing schedule will apply
in this case:

            Appellant's Brief                                                   April 1, 2024
            Amicus Curiae for Appellant's Brief                                 April 8, 2024
            Appellees' Brief                                                    May 8, 2024
            Appellant's Reply Brief                                            May 29, 2024
            Deferred Appendix                                                  June 5, 2024
            Final Briefs                                                      June 20, 2024

        All issues and arguments must be raised by appellant in the opening brief. The court
ordinarily will not consider issues and arguments raised for the first time in the reply brief. To
enhance the clarity of their briefs, the parties are cautioned to limit the use of abbreviations,
including acronyms. While acronyms may be used for entities and statutes with widely
recognized initials, briefs should not contain acronyms that are not widely known. See D.C.
Circuit Handbook of Practice and Internal Procedures 42 (2021); Notice Regarding Use of
Acronyms (D.C. Cir. Jan. 26, 2010).
       Parties are strongly encouraged to hand deliver the paper copies of their briefs to the
Clerk's office on the date due. Filing by mail could delay the processing of the brief.
Additionally, parties are reminded that if filing by mail, they must use a class of mail that is at
least as expeditious as first-class mail. See Fed. R. App. P. 25(a). All briefs and appendices
must contain the date that the case is scheduled for oral argument at the top of the cover, or
state that the case is being submitted without oral argument. See D.C. Cir. Rule 28(a)(8).
                                                              FOR THE COURT:
                                                              Mark J. Langer, Clerk
                                                    BY:       /s/
                                                              Michael C. McGrail
                                                              Deputy Clerk
